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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


 State of Colorado, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


                                     JOINT STATUS REPORT

       Pursuant to the Court’s Order, ECF No. 1043, as amended by ECF No. 1173, the Parties

submit the following Joint Status Report.

I.     Joint Status Update

       The Parties provide the Court with the following joint update on the status of discovery

and request the Court’s assistance with the three disputes identified below in the Parties’ Position

Statements.

       Document Discovery Status

       On January 27, 2025, Plaintiffs served Google with their Third Joint Requests for

Production. On February 10, Google provided to Plaintiffs its responses and objections.
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          On February 13 and 27, the Parties met and conferred but reached impasse and

respectfully request the Court’s guidance on a dispute related to Plaintiffs’ Third Set of Requests

for Production. The Parties include position statements regarding this dispute below.

          Interrogatories Status

          Pursuant to the Court’s January 20, 2025 Order, ECF No. 1144, on February 4, Google

issued its Third Set of Interrogatories to Plaintiffs. On February 18, Plaintiffs provided to Google

their responses and objections. The Parties met and conferred on February 27. The Parties have

reached impasse and respectfully request the Court’s guidance, and the Parties include position

statements regarding this dispute below.

          On February 14, Plaintiffs served Google with their Second Set of Joint Interrogatories.

          Fact Deposition Status

          The Parties will have completed all 40 fact depositions by the end of today.

          Expert Discovery Status

          Consistent with the Court’s scheduling orders, the Parties are working towards

exchanging proponent expert reports as scheduled by March 14.

II.       Plaintiffs’ Position Statement Regarding Plaintiffs’ Third RFPs, Nos. 7 and 8

          As part of the PFJ, Plaintiffs have proposed data sharing remedies that are intended to

prevent Google from using its sizable scale and data advantages to keep rivals from competing in

the relevant markets. In order to tailor its remedies package to the needs of competition,

Plaintiffs seek a list of data fields with a corresponding data dictionary1 from Google for three

categories of user-side data:


1
      Plaintiffs seek how each field is defined and used. Per Plaintiffs’ request, the “data dictionary
      should at least: (1) provide field names and descriptions; (2) specify the data types; (3) outline
      permissible or expected value ranges and formats; (4) describe the purpose or function of each


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       1. Data used to build the GLUE statistical model(s);

       2. Data used to train the RankEmbed model(s); and

       3. Data used as training data for GenAI Models used in Search or any GenAI

           Product that can be used to access search.

       These data access remedies are critical to address how Google’s monopolization of

search engines has denied rivals essential data derived from users necessary to improve and

innovate products. Plaintiffs’ requests, as narrowed, address these data access remedies, and aim

to facilitate an efficient presentation to the Court of technical information by providing both

parties a base-level understanding of which data fields exist in the datasets at issue.

       Defendant’s initial proposed final judgment does not include any data sharing remedies,

even though this Court found that Google’s monopolies benefited from its significant data

advantages. As a result, Plaintiffs requested detailed information about Google’s data collection

that will allow Plaintiffs to more efficiently address Google’s defenses. That is, Google has

previewed that it will claim that sharing some data is impossible due to privacy concerns.

Understanding precisely what data fields Google believes fit into this claim and what they are

will be useful for Plaintiffs to focus on for the benefit of the Court in consideration of the

appropriate remedy in this case. Indeed, Plaintiffs have asked Google whether it intends to use

data field-level critiques of Plaintiffs’ data access remedies in its defense of potential data access

remedies in this case; Google has refused to answer. Thus, absent relief from the Court, Google




   field in the model or training process; and (5) identify any transformations, preprocessing, or
   aggregations that are performed.” Exhibit A, Plaintiffs’ Third Joint Request for Production of
   Documents (Jan. 27, 2025).
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seeks to wield this information as both a sword and a shield by refusing to provide access to data

but also refusing to commit to not using such data in its defense.

        Google claims that it is too burdensome to merely identify what user data it collects and

uses in three processes. Plaintiffs disagree.

        For context, Google collects—per its attorneys’ characterization—an “extraordinary”

amount of information from users that initially totals “over 100,000 fields” of data. Exhibit B,

Google LLC’s Responses & Objections to Plaintiffs’ Third Joint Request for Production of

Documents at 6 (Feb. 10, 2025); Exhibit C, Ltr. From Gloria K. Maier to K. Herrmann at 1 (Feb.

27, 2025). Plaintiffs asked Google, roughly, how many fields these requests would constitute,

and Google explained that, for Plaintiffs’ request relating to Glue, it would be “several hundred

fields,” and for RankEmbedBert, it would be “twenty” fields.2 Plaintiffs have worked diligently

to narrow the scope of this request to a very low burden. Google is well capable of providing a

list of several hundred data fields, especially in the context of determining how access to those

data fields will help enable rivals to overcome Google’s years of monopolization.

        Finally, Google has argued to Plaintiffs that these requests are somehow both belated yet

also duplicative to those made during liability and earlier in the remedies phase. They are not. To

be clear, it is well-established that Google does use user-side data to power these search

processes, and it is well-established that these are important processes for Google. While Google

has produced some documents that describe the use of user-side data in these processes

generally, they do not show a definitive and comprehensive list of which user-side data fields are

used to power these search processes.



2
    Ex. C at 1. Google has not provided this information for the data used to train and fine-tune
    Google’s various search-related AI models.

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        For these reasons, Plaintiffs respectfully request that the Court order Google to produce a

list of the data fields requested and a corresponding data dictionary.

III.    Google’s Position Statement Regarding Plaintiffs’ Third RFPs, Nos. 7 and 8

        Plaintiffs seek an order compelling Google to create and produce technical documents

regarding training data used for the Glue statistical model (RFP 7(b)), the RankEmbedBERT

model (RFP 7(g)), and Google’s AI models used for AI Overviews, Circle-to-Search, and the

Gemini chatbot (RFP 8). With the exception of the request related to the Gemini chatbot (RFP

8(d)), Plaintiffs demand data dictionaries detailing the available fields. In the liability phase,

Google provided Plaintiffs an enormous amount of information regarding the Glue statistical

model and the RankEmbedBERT model, and in the remedies phase, Google has likewise

produced an enormous amount of information regarding the data used to train Google’s AI

Overviews and the Gemini chatbot. Plaintiffs’ request for still more documentation at this late

stage—including the creation of detailed data dictionaries that Google does not maintain in the

ordinary course of business—is unreasonable and unduly burdensome.

        Request No. 7: Request No. 7 seeks a “spreadsheet or similar document sufficient to

show all the available fields used for the data used to train or create [certain listed] Google

systems,” including Glue and RankEmbedBERT, along with a “data dictionary that explains how

each field is defined and used.” See Ex. A at 3-4.3 “This data dictionary should at least: (1)

provide field names and descriptions, (2) specify the data types, (3) outline permissible or

expected value ranges and formats, (4) describe the purpose or function of each field in the

model or training process, and (5) identify any transformations, preprocessing, or aggregations



3
  In a February 24, 2025 email from Karl Herrmann, Plaintiffs agreed in written correspondence
to narrow the scope of the request to parts (b) and (g), Glue and RankEmbedBERT.

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that are performed on the data including any sampling methodology employed to obtain the data

set.” Id.

       As Google has previously informed Plaintiffs, Google does not maintain such a document

in the ordinary course of business.4 Here, the preparation of the spreadsheet requested by

Plaintiffs would require Google’s ranking engineers to extract the data and then to annotate and

explain it in the manner requested by Plaintiffs. Plaintiffs have provided no justification for this

request—particularly at this late stage of discovery and in light of all of the discovery they have

already obtained regarding the Glue and RankEmbedBERT systems.

       Request No. 8: Request No. 8 seeks “technical documentation sufficient to show which

User-Side Data is used, any considerations of privacy or privacy-protection mechanisms for this

use, and how often this data is refreshed, to (a) train and (b) fine tune” certain models that (in

general terms) relate to Google’s AI Overview, Circle-to-Search, and Gemini chatbot

offerings. Ex. A at 4-5. Although Google has produced dozens of technical documents relating

to these models, Plaintiffs now take the position that Google’s production is insufficient without

a list of data fields, accompanied by a data dictionary. As with Request No. 7, Google does not

maintain such a data dictionary, and thus would have to create it.

       Plaintiffs have separately served an interrogatory on Google that seeks substantially the

same information; specifically, Interrogatory 15 of Plaintiffs’ Second Set of Interrogatories

requests that Google “[i]dentify what types of search data have been used as training data for”

certain models relating to Gemini and AI Overviews. The Interrogatory further requests that



4
  “Rule 34 only requires a party to produce documents that are already in existence,” Alexander
v. F.B.I., 194 F.R.D. 305, 310 (D.D.C. 2000), the fact that the requested documents “do[] not
presently exist and would have to be created for the purpose of responding to Plaintiff[s’] RFP . .
. dooms Plaintiff[s’] RFP,” Wall v. Reliance Standard Life Ins. Co., 341 F.R.D. 1, 4 n.2 (D.D.C.
2022).
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Google “describe what the dataset consists of including any sampling methodology used to

create the dataset and if any anonymization technique was applied,” i.e., methodologies that

relate to the privacy protections referenced in Request No. 8.5 As Google has told Plaintiffs,

Google will respond to that interrogatory when it is due on March 17. Google sees no reason

why, on top of that information, Plaintiffs would separately require a data dictionary describing

the fields containing any “User-side Data”6 used for training Google’s AI-related models—

particularly when the requested information is not maintained in the ordinary course.

       Google, moreover, has already provided extensive discovery into the data (including any

User-side Data) used to train its AI models. For example, Google has retrieved and produced

“data cards” and other technical summaries relating to the operation and characteristics of the

models powering Google’s AI functionality.7 Google’s response to Request No. 8 refers back to


5
  The full text of Interrogatory 15 reads: “Identify what types of search data have been used as
training data for Gemini V3 AI Pretrained models currently in experimentation and the MAGIT
models, including but not limited to (1) Aquarium Magi data, (2) Aqua[r]ium WebAnswers data,
(3) Search Sessions data, including QSessions data, and (4) Search Docjoin Metadata, and for
each dataset describe what the dataset consists of including any sampling methodology used to
create the dataset and if any anonymization technique was applied. For Search Docjoin Metadata
data, please describe what constitutes a Docjoin and identify each item contained therein,
including but not limited to a description of each metadata field that may appear in a Docjoin
whether or not it was selected for training data in the Gemini V3 AI Pretrained or MAGIT
models.”
6
  Plaintiffs’ Requests for Production define “User-Side Data” as a subset of search
data. Specifically, User-Side Data is defined to “mean[] all data that can be obtained from users
in the United States, directly through a search engine’s interaction with the user’s Device,
including software running on that Device, by automated means. User-side Data includes
information Google collects when answering commercial, tail, and local queries. User-side Data
may also include data sets used to train or fine-tune Google’s ranking and retrieval components,
as well as artificial intelligence models used for Google’s AI Product.” See also ECF No. 1062-
1 § III.AA (Plaintiffs’ Proposed Final Judgment, containing the same definition).
7
 For example, Plaintiffs’ Second Joint Requests for Production, Request No. 9 requests that
Google: “Produce documents sufficient to show if and what search log or user-side data Google
uses to train or fine-tune its foundation models for a specific application, how the search log or


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those documents, see Ex. B, at 8, and Plaintiffs have never explained whether (or why) such

discovery is somehow deficient. To the contrary, Plaintiffs have used technical documentation

that Google produced to question Google witnesses in deposition regarding the particulars of the

extent to which User-side Data is used for training Google’s AI technology.

         In short, Google has provided substantial discovery into the topics covered by Request

No. 8, and, in responding to Plaintiffs’ Interrogatory No. 15, Google will provide still

more. There is no basis for compelling yet further discovery at this late stage.

IV.      Plaintiffs’ Position Statement Regarding Google’s Third Set of Interrogatories

         On February 4, 2025, Google served interrogatories regarding Plaintiffs’ Initial Proposed

Final Judgment. Although the Court limited it to 30 interrogatories, Google submitted 68

different inquiries, including all subparts. Despite this overreach, Plaintiffs answered all the

interrogatories on February 18, 2025. Nine days later, on February 27, the parties met and

conferred at which time Google raised concerns with a limited number of Plaintiffs’

interrogatory answers. Following that meet and confer, Plaintiffs proposed on March 5—in the

interest of efficiency—to refresh its answers to Google’s sixty-eight interrogatories following

our submission of a Revised Proposed Final Judgment just two days later. Google rejected this

offer.

         Rather than revise interrogatory answers about a previous version of Plaintiffs’ Proposed

Final Judgment, it better serves judicial economy to instead refresh the interrogatory answers as

they apply to the Revised Proposed Final Judgment. This is especially true given the closeness in



user-side data improves or benefits a specific application, and the size, fields, and types of data
used in the search log or user-side data sets. The specific applications include: (a) AI Overviews;
(b) the Gemini Chatbot; (c) Circle to Search; and (d) the forthcoming ‘AI mode,’ referenced in
Chris Miles’ November 14, 2024, deposition.”

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time between the meet and confer and Plaintiffs’ submission of its Revised Proposed Final

Judgment. Google will not be prejudiced in any way—indeed their position will be enhanced, as

they will receive discovery about the Proposed Final Judgment that Plaintiffs will argue in court.

          Therefore, Plaintiffs propose providing a refresh of their interrogatory answers, as

applied to the Revised Proposed Final Judgment, by Wednesday, March 12, 2025. This date is in

advance of initial expert reports being due and allows time for the parties to have any follow-up

meet and confer regarding Plaintiffs’ answers.

V.        Google’s Position Statement Regarding Google’s Third Set of Interrogatories

          On November 20, 2024, Plaintiffs served their initial Proposed Final Judgment

(“PFJ”). As Google explained before the Court in January, that PFJ was not limited to the

distribution of general search services or search text advertising, but instead reached several

products and markets that were not the subject of discovery or evidence during the liability phase

of this litigation. In addition to being wide-ranging, the PFJ contained vague and ambiguous

language, making it impossible for Google and its experts to understand the full extent and

intended implementation of Plaintiffs’ proposals. To address this concern, Google served a Rule

30(b)(6) deposition notice on Plaintiffs in December. Plaintiffs refused to produce a witness, and

at the January status conference, the Court ordered that in lieu of Google’s noticed 30(b)(6)

deposition, Plaintiffs were required to respond to interrogatories regarding the meaning of their

PFJ.

          In accordance with the Court’s order, Google served 30 interrogatories, and Plaintiffs

served their responses and objections on February 18.8 Plaintiffs’ responses were deficient in




8
    Plaintiffs’ objections and responses are Exhibit D to this JSR.

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numerous ways.9 Google explained these deficiencies in a meet and confer on February 27, and

Plaintiffs committed to responding to Google early the following week. Instead, on Wednesday,

March 5, Plaintiffs emailed to inform Google that they would not be providing responses this

week, but would submit revised interrogatory answers “shortly” after submitting their revised

PFJ. In order to have sufficient time ahead of the expert disclosures due on March 14, Google

instead requested answers by Friday, March 7. Plaintiffs refused.

       Google now respectfully requests that the Court order Plaintiffs to respond in full to each

of the deficiencies addressed below by Monday, March 10 at 5 p.m. Eastern Time. Plaintiffs

have already had weeks to respond to Google’s interrogatories, and their self-help—purportedly

based on the upcoming revisions to their PFJ—was improper.

       Plaintiffs’ delay in providing complete answers to Google’s interrogatories has already

been highly prejudicial to Google; the issues addressed by the interrogatories are critical to

expert reports due in just one week. Whereas Plaintiffs’ experts can simply ask Plaintiffs what is

meant by their vague and ambiguous provisions, Google and its experts have been left with

Plaintiffs’ deficient and incomplete interrogatory responses. Plaintiffs should provide complete

answers to Google’s questions immediately so Google’s experts can consider them in the few

days remaining before their reports are due next Friday, March 14.

       Interrogatory 5: Plaintiffs’ claims in this action are limited to U.S. markets and U.S.

conduct. See ECF No. 94 (Am. Compl.) ¶¶ 173-93. Despite this, Plaintiffs’ PFJ is ambiguous

regarding whether the broad prohibitions and requirements are intended to apply outside the




9
  On the meet and confer, Google raised additional issues with Plaintiffs’ responses beyond those
raised below. Google has limited its requests in this submission to those for which Google needs
a response immediately due to the upcoming expert deadline. Google reserves the right to raise
additional deficiencies with Plaintiffs interrogatory responses at a later time.
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country. While some of Plaintiffs’ PFJ explicitly limit the requirements to the U.S., see, e.g.,

Plaintiffs’ PFJ Section VII.B (“For the avoidance of doubt, Google must only provide

syndication for queries that originate in the United States.”), most are silent as to extraterritorial

application. Most confusingly, Plaintiffs’ PFJ includes a catch-all anti-circumvention provision

that purports to be “worldwide in scope” and to apply “to Google’s conduct or contracts

regardless of where it occurred.” Plaintiffs’ PFJ Section X.F. That provision seeks to prohibit

“any conduct substantially similar to conduct prohibited” by the PFJ or that has the “purpose or

effect of evading or frustrating the purposes of” the PFJ. Id.

       Given this ambiguity, Interrogatory 5 asked “whether any prohibition or requirement in

Sections IV, V, VI, VII, VIII, IX, or X of Plaintiffs’ Proposed Final Judgment applies outside the

United States (including but not limited to devices sold outside the United States).” Plaintiffs

responded that “None of the prohibitions in Sections IV-X would directly apply outside the

United States, other than any divestiture provisions of Sections V.A or V.B, prohibited

investments in Section IV.F, and the anti-circumvention provisions throughout the Proposed

Final Judgment.” Ex. D at 6 (emphasis added).

       Plaintiffs’ response does nothing to resolve the ambiguity, and provides Google no notice

as to what conduct outside the United States would in fact be subject to the PFJ. The stated

exception for “anti-circumvention provisions” does not answer, for example, whether a contract

with Apple related to Google Search solely on devices sold outside the United States would be

“substantially similar to” or “frustrate the purpose of” the prohibition on providing Apple

anything of value. Google needs to know whether such a contract is prohibited by the PFJ so

that it can prepare its legal, factual, and expert arguments against such a prohibition. The same is

true for all other prohibitions and requirements within the PFJ. The Court should require



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Plaintiffs to answer fully and completely what conduct outside the United States would be

prohibited by their PFJ.

         Interrogatory 7(e) and (f): Section IV.G of Plaintiffs’ PFJ generally relates to

“prohibited acquisitions.” However, the language of the PFJ is much broader, prohibiting

Google from, inter alia, “enter[ing] into . . . any marketing or sales agreement . . . with . . . any

company that controls a Search Access Point or query-based AI Product” without prior consent

of the United States. This could, by its terms, require pre-approval by the government for any

number of marketing or sales agreements with Carrier or OEMs (in that they may “control[] a

Search Access Point”), regardless of those agreements’ connection to search. Google therefore

served an interrogatory asking whether the following conduct would violate any provision of the

PFJ:

         e. Google entering the Mobile Services Incentive Agreements with AT&T and T- Mobile,
         the Mobile Framework Service Agreement with Verizon, or a “Go to Market” Agreement
         with a third party that is based solely on the level of Android activations achieved
         through a third party’s Android device sales;

         f. Google entering into a marketing agreement with a third party to promote and/or sell
         any type of Android device, including Google Pixel devices.

         Plaintiffs responded “that hypotheticals (e) and (f) may not violate the Proposed Final

Judgment, as long as any payments or other value provided are not ‘related to a GSE or

Search Access Point.’” Ex. D at 8 (emphasis added). Plaintiffs’ response, however, did not

make reference to whether such agreements would still need the government’s preapproval under

Section IV.G. Google therefore asked Plaintiffs to confirm that Section IV.G of Plaintiffs’ PFJ

does not require preapproval by the government of marketing and sales agreements with Carriers

and OEMs. Plaintiffs have not yet provided such confirmation.




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       Interrogatory 8: Section IV.B of the PFJ states that: “Google must not offer or provide

anything of value to Apple—or offer any commercial terms—that in any way creates an

economic disincentive for Apple to compete in or enter the GSE or Search Text Ad

markets.” Similarly, Section IV.A prohibits Google from offering to a third party “payments or

other commercial terms that create an economic disincentive to compete in or enter the GSE or

Search Text Ad market(s)” in exchange for certain promotion of a GSE or search access

point. Because Plaintiffs did not explain how to determine whether something would “create an

economic disincentive” to compete or enter these markets, Interrogatory 8 required Plaintiffs to

“state the process and standards under which Google should assess” this question, including:

       a. What economic or other test should be used to determine whether this section is met;

       b. What information from actual or potential competitors should be used to determine
       whether such standard is met, and how will Google gain access to such information;
       c. What level of preparedness to enter the Search or Search Text Ads markets is
       contemplated of “third parties” or Apple that could experience an “economic disincentive
       to compete in or enter the GSE or Search Text Ads markets”; and

       d. Is there a “materiality” or other threshold for whether a payment creates an economic
       disincentive.

       Plaintiffs’ interrogatory response failed to answer any of these questions. Instead,

Plaintiffs’ stated that the prohibition in Section IV.B “prohibits all monetary payments to or the

exchange of anything of value with Apple for any purpose”—despite the PFJ’s clear text to the

contrary (limiting “anything of value” to “creat[ing] an economic disincentive”). Ex. D at 9

(emphasis added). During the meet and confer, Google pointed Plaintiffs to the text of the PFJ,

and asked Plaintiffs to clarify whether this inconsistent reading of the PFJ was intended. Google

also explained that questions (a)-(d) should be answered regardless, because Plaintiffs’ response

makes clear that the phrase “create an economic disincentive to compete in or enter the GSE or

Search Text Ad market” in the PFJ “is intended to modify the term ‘other commercial


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terms.’” Ex. D at 9. Therefore, Google still needs to know how one would determine whether

“other commercial terms” violate this provision of the PFJ. There is no reason Plaintiffs cannot

answer this question now, so that Google has fair notice before expert discovery and trial.

        Interrogatory 11: Section IV.F of the PFJ requires, inter alia, Google to divest “any

investment, holding, or interest” in “any company that controls a Search Access Point or an AI

Product,” and “in any technologies, such as AI Products, that are potential entrants into the GSE

or Search Text Ads markets or reasonably anticipated competitive threats to GSEs.” This

provision is unclear as to what “Search Access Points” or “AI Products” currently exist that

would be ordered divested and/or prohibited from investment. Google therefore asked Plaintiffs

to at least disclose the “name of each entity that today qualifies as a company that controls a

Search Access Point or an AI Product.” Plaintiffs refused to respond or even provide examples,

stating that “there are many companies that have developed AI technology, rendering it

impossible for Plaintiffs to give a comprehensive list.” Ex. D at 12. This many years into this

litigation, that evasion is not tenable. If it is “impossible” for Plaintiffs to disclose such a list

today, how could Google be expected to defend against the proposal, much less comply with it if

it is ordered. Plaintiffs should provide a comprehensive list of all companies currently known to

them that control what they define as a Search Access Point or an AI Product within the meaning

of their PFJ.

        Google also asked Plaintiffs to identify “each technology that today is a reasonably

anticipated competitive threat to GSEs.” Plaintiffs again refused to answer, stating that “while

AI Products are not meaningful competitive constraints on Google search or search text ads

today, various AI Products either in production or available today could become GSE

competitors or control Search Access Points in the future.” Again, this provides no notice of



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which technologies are subject to this PFJ. Plaintiffs should provide a comprehensive list of all

technology, including AI products, that Plaintiffs contemplate by this provision of their PFJ.

       Interrogatory 12: Interrogatory 12 relates to Plaintiffs’ proposed divestiture of Chrome

(Section V.A). Google asked whether and how the proposed Chrome divestiture obligation

applies to, inter alia, ChromiumOS and ChromeOS. Plaintiffs responded (on February 18) that

they “do not believe that the Chrome divestiture in Section V.A would necessarily apply to

ChromiumOS or ChromeOS, but Plaintiffs require additional information from remedies

discovery in order to provide a complete response.” Discovery is now over, and there is no

reason for further delay.

       Interrogatory 15: Section V.C of Plaintiffs’ PFJ contains a broad prohibition on Google

using any Google-owned or operated asset to “preference Google’s GSE, Search Text Ads, or AI

Products.” The PFJ does not define what it means to “preference” Google’s GSE, Search Text

Ads, or AI Products other than an example that “Google must not use its ownership or control of

Android or any other product or service to disadvantage Competitors.” Plaintiffs’ PFJ Section

V.C. Given the ambiguity regarding what it might mean to “preference” Google or

“disadvantage” a competitor, Interrogatory 15 asked Plaintiffs to “[i]dentify with specificity any

conduct that you claim Google has engaged in or is engaging in today that is prohibited by the

provisions of Section V.C.” Plaintiffs’ response listed just four categories of conduct: “Self-

preferencing of the Google GSE on user-downloaded Chrome, Agreements to preinstall Google

apps on Android phones, Agreements to preset default of Google apps on Android phones, and

Gemini interoperability with only Google GSE, Android, and Chrome.”

       This response is not sufficient to provide Google notice of what current conduct would be

prohibited by the “self-preferencing” provisions of Plaintiffs’ PFJ. Plaintiffs do not define “self-



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preferencing.” It is therefore entirely unclear what is meant by “self-preferencing” of the Google

GSE on user-downloaded Chrome, or how preinstallation and default agreements with third

parties on Android devices that Google does not own or control could possibly constitute “self-

preferencing.” Furthermore, their answer refers to “Gemini,” a term that could refer to the

Gemini application, the family of large language models, or other projects within Google that

have at times been referred to as “Gemini.” And Plaintiffs failed to explain what specific

“Gemini interoperability” they believe violates their proposed prohibition on “self-preferencing.”

If Plaintiffs believe certain Google conduct today would violate this portion of the PFJ, they

should state so clearly and with sufficient particularity to give Google notice of what conduct

would be enjoined.

       Interrogatory 29: Section IX.F of the PFJ—proposed solely by the Colorado State

Plaintiffs—would require Google to “fund a nationwide advertising and education program

designed to inform users of the outcome of this litigation and the remedies in this Final Judgment

relating to GSE choices and disclosures of data.” The Colorado State Plaintiffs proposed that

this may include “reasonable, short-term incentive payments” to users that “choose a non-Google

default GSE on a Choice Screen.” That is, under this remedy, Google could be required to pay

users who choose a rival. Plaintiffs did not explain how much money their proposal would

require Google to pay these users. Therefore, Interrogatory 29 instructed the Colorado State

Plaintiffs to specify in dollar amounts what payments were contemplated by this proposal.

       The Colorado State Plaintiffs refused to provide a dollar amount, instead stating that they

“anticipate [the payments] would be relatively small sums for a relatively short time

period.” This response is just as ambiguous as the PFJ’s statement that the payments would be




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“reasonable.” The Colorado State Plaintiffs should answer what dollar amount (even if it is a

range) they mean by “reasonable” and a “relatively small sum.”

VI.     Plaintiffs’ Position Statement Regarding Google’s Request to Limit Trial
        Exhibits

        On March 5, 2025, Google indicated that, in its view, each side should be permitted to

introduce no more than 200 exhibits in connection with the remedies evidentiary hearing,

excluding deposition exhibits, executed contracts, and data files. In response, Plaintiffs indicated

that discussing the appropriateness of a cap on exhibits was premature at this stage. That same

day, the parties met and conferred but were unable to resolve this dispute.

        The Court should decline Google’s request to arbitrarily limit the evidence it receives at

trial. As we did in liability, Plaintiffs intend to provide comprehensive evidence to aid the Court

as it fashions a remedy to address Google’s unlawful, persistent monopolies. As an initial matter,

the Court did not cap the number of exhibits during liability. Indeed, the Court’s extensive

findings of fact contained in its 286-page liability opinion reveal the Court’s detailed review of

the nearly 5,000 exhibits that were admitted into evidence. Notably, while the parties used 652

exhibits at trial and cited to 1,267 exhibits in their proposed findings of fact, approximately 2,500

exhibits—excluding deposition exhibits, executed contracts, and data files—were entered into

the evidentiary record. Plaintiffs similarly seek to provide the Court with a complete evidentiary

record to aid it in remedying Google’s unlawful violations. The number of exhibits required to

make this showing to the Court remains to be seen at this time, given where the Parties are in the

remedies schedule. We respectfully request that the Court not hamper our ability to do so with

the artificially drawn restrictions that Google seeks to impose.

        In the alternative, should the Court believe that a limitation on exhibits is appropriate, the

details of any such cap is premature at this juncture. Fact depositions conclude today, and the


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evidence gleaned during fact discovery will certainly affect Plaintiffs’ litigation strategy as to

what evidence to present to the Court and how best to present that information. Further, witness

lists are not due until March 11, and expert discovery has yet to begin. Although, as Google

argues, the number of trial days will limit the amount of exhibits that are used in Court, it should

not impact our ability to push in exhibits like the parties did during liability. Those additional

exhibits included more than deposition exhibits, executed contracts, and data files.

         Ultimately, imposing any artificial restriction on the number of exhibits at this stage

creates the unnecessary risk that Plaintiffs will be impaired in our ability to provide

comprehensive information for the Court’s consideration.

VII.     Google’s Position Statement Regarding Google’s Request to Limit Trial Exhibits

         Google respectfully requests that the Court order that each side may introduce a

maximum of 200 exhibits in connection with the upcoming evidentiary hearing, excluding

exhibits introduced during a deposition that are introduced into evidence, executed contracts, and

data files. A reasonable cap on the number of exhibits introduced by each side follows naturally

from the limits that the Court has already established for the evidentiary hearing.

         To begin, the Court has limited the parties to a total of 14 days of testimony. See ECF

No. 1164. It is unlikely that more than 200 exhibits in total will be used within that amount of

time, let alone more than the 200 exhibits per side that Google has proposed. See, e.g., United

States v. AT&T Inc., 310 F. Supp. 3d 161, 187-89 (D.D.C. 2018) (noting that “[i]n total,” the

Court “admitted into evidence … over 120 exhibits” in a case where “there were 23 days of

proceedings”). A cap of 200 exhibits per side—excluding exhibits introduced during a

deposition that are entered into evidence, executed contracts, and data files—is eminently

reasonable given the time allotted for the presentation of evidence. See, e.g., Brackens v. City &

County of San Francisco, 2023 WL 12035597, at *4-5 (N.D. Cal. July 6, 2023) (ordering the

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parties “to submit a shortened list of no more than 100 exhibits each” in advance of “a bench

trial”); Sabre Int’l Sec. v. Torres Adv. Enter. Solutions, LLC, 72 F. Supp. 3d 131, 151 (D.D.C.

2014) (limiting the parties to “100 exhibits”).

       Furthermore, the Court has ordered a single round of post-hearing submissions, which are

due to be filed simultaneously a week after the conclusion of all testimony. See ECF 1164. As a

consequence, the schedule does not currently provide Google with an opportunity to respond to

any characterizations Plaintiffs may offer of exhibits that have not been used with a

witness. Capping the number of exhibits is a reasonable case management tool in any event, and

it is all the more important under the present circumstances, where Google will have no chance

to respond to narration based on a significant number of exhibits “pushed” into the record

without a witness. See, e.g., AT&T, 310 F. Supp. 3d at 186-87 (explaining that the Court

“generally instructed the parties to seek admission of documents through sponsoring witnesses”

because, among other things, “[w]itnesses would be able to contextualize and explain the

technical and lengthy documents at issue, which might otherwise be misunderstood or selectively

cited in post-trial briefs”); Federal Judicial Center, Civil Litigation Management Manual at 101

(3d Ed. 2022) (explaining that courts may consider “controlling the volume of exhibits by

limiting their number” and “having counsel redact voluminous exhibits”).

       Finally, Google is especially susceptible to unfair surprise due to the breadth of the

remedies sought by Plaintiffs. At Plaintiffs’ urging, their Revised Proposed Final Judgment will

not be filed until today (i.e., fewer than seven weeks before trial and after the close of fact

discovery). And because of Plaintiffs’ original projection for the amount of time needed to

present their case, the evidentiary hearing will last 14 days, notwithstanding the extraordinary

breadth of the remedies sought in Plaintiffs’ Initial Proposed Final Judgment. Against this



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backdrop, it is crucial that Plaintiffs be required to make their case for any given remedy through

witnesses subject to cross-examination, not through pushing into evidence a large number of

exhibits so that they can pick-and-choose which ones to use for the first time in their post-trial

submission without opportunity for proper contextualization or witness testimony. Cf. United

States ex rel. Morsell v. NortonLifeLock, Inc., 2022 WL 278773, at *4 (D.D.C. Jan. 31, 2022)

(“Even a bench trial depends on the processes of the adversarial system.”). By capping the

number of exhibits at 200 per side, the Court can help ensure the focused presentation of

evidence during this unusually compressed and highly consequential proceeding. See, e.g.,

AT&T, 310 F. Supp. 3d at 186 (observing that the Court “did not have the luxury of blanketly

admitting a mass of documentary evidence and sorting through it after trial” because “[t]he

compressed timeline and novel, complicated nature of the case instead necessitated that [the

Court] make individualized rulings on relevance and admissibility”).




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